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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


 FLORENCE ASLINIA,

        Plaintiff,

        v.                                                Case No. 24-2208-EFM-BGS

 UNIVERSITY OF KANSAS AND UNIVERSITY
 OF KANSAS PHYSICIANS, INC.,

        Defendants.



                  INITIAL ORDER REGARDING PLANNING AND SCHEDULING

       Fed. R. Civ. P. 1 mandates the “just, speedy, and inexpensive” determination of this action.

With this goal in mind, U.S. Magistrate Judge Brooks G. Severson will conduct a Fed. R. Civ. P.

16 scheduling conference on August 13, 2024 at 3:00 PM. The conference will be conducted by

telephone. Counsel should call 1-888-363-4749 and enter access code 5407703 to participate in

the conference.

       The parties, in person and/or through counsel, must confer as required by Fed. R. Civ. P.

26(f) by July 23, 2024. Generally, discussion at the planning conference must address the nature

and basis of the parties’ claims and defenses; the possibilities of settling or resolving the case,

including using mediation or other methods of alternative dispute resolution; making or at least

arranging for Fed. R. Civ. P. 26(a)(1) disclosures; any issues about preserving discoverable

information; developing a discovery plan; discovery of electronically stored information (ESI);

and a proposed scheduling order. More specifically, the parties must discuss the agenda items set

out in Fed. R. Civ. P. 16(c)(2)(A)-(P) and Fed. R. Civ. P. 26(f)(3)(A)-(F), and a proposed

scheduling order using the form available at the following:
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                   http://ksd.uscourts.gov/index.php/forms/?open=CivilForms

       Careful planning is essential to efficient case management and discovery. The Court

strongly encourages the parties to conduct their Rule 26(f) planning conference in person instead

of by telephone, to improve the quality of discussion. It is unacceptable to simply exchange draft

proposed scheduling orders by e-mail without further discussion.           The Court also strongly

encourages “first chair” trial counsel to be meaningfully involved in this critical planning process.

Before the planning conference, the parties shall review and be prepared to address the agenda

items set out in Rules 16(c)(2)(A)-(P) and 26(f)(3)(A)-(F). The parties should think creatively and

cooperatively, to the extent possible, about how to structure this case in a way that will lead to the

efficient resolution of the factual and legal issues presented.

       The parties must work together to draft a proposed scheduling order, which will constitute

the written report required by Fed. R. Civ. P. 26(f)(2). The parties must note any points of

disagreement in the proposed scheduling order and include a brief explanation of their respective

positions. By August 2, 2024, Plaintiff(s) must submit the following:

       (1)     a redlined version of the proposed scheduling order that shows all changes to the

Court’s form proposed scheduling order, and

       (2)     a clean version of the proposed scheduling order.

       Both versions of the document must be submitted in Word format as an attachment to an

e-mail sent to ksd_severson_chambers@ksd.uscourts.gov. The proposed scheduling order must

not be filed with the clerk’s office. The e-mail transmitting the proposed scheduling order must

also include cellular numbers for each attorney of record and any party appearing pro se.
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          The parties must serve their Rule 26(a)(1)(A) initial disclosures by August 2, 2024, and

email copies of the initial disclosures to the undersigned judge’s chambers with the proposed

scheduling order. The Magistrate Judge may discuss these disclosures during the scheduling

conference in finalizing a discovery and case plan that achieves Rule 1’s objectives. The parties

should not submit to the Court any documents identified or described in their Rule 26(a)(1)(A)

initial disclosures.

          If you have questions concerning this order’s requirements, please contact the undersigned

judge’s      law   clerk,   Dwight     Fischer,     at   (316)    315-4387,    or   by    e-mail   at

ksd_severson_chambers@ksd.uscourts.gov.

          IT IS SO ORDERED.

          Dated July 3, 2024, at Wichita, Kansas.

                                                                 /s/ BROOKS G. SEVERSON
                                                                 Brooks G. Severson
                                                                 United States Magistrate Judge
